                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


Commonwealth of Pennsylvania, State of
California, State of Delaware, District of
Columbia, State of Maine, Commonwealth of
Massachussetts, and State of North Carolina,

Plaintiffs,

v.                                                            Case No. 20-cv-4096

Louis DeJoy, in his official capacity as
United States Postmaster General, Robert M.
Duncan, in his official capacity as Chairman
of the Postal Service Board of Governors,
and the United States Postal Service,

Defendants.


                               MOTION TO STAY DEADLINE FOR
                                RESPONDING TO COMPLAINT

        Pursuant to the Court’s “Guidelines for Counsel”1 and F.R.C.P. 6(b), Defendants hereby

move the Court to stay Defendants’ deadline for answering or moving to dismiss Plaintiffs’

Complaint, which is currently set for December18, 2020. As this Court is aware, the Postal Service

previously requested, and this Court previously granted, an extension to the Answer deadline based

on the Postal Service’s pending obligations in numerous lawsuits throughout the country.2 Several

of these lawsuits remain active, and the Postal Service is involved in additional expedited

discovery in two of these lawsuits.




1
 https://www.paed.uscourts.gov/documents/procedures/mchpol.pdf.
2
 See, e.g., Pennsylvania v. DeJoy, 20-cv-4096, ECF No. 63 (E.D. Pa. Sept. 28, 2020), as
modified by ECF No. 70; Jones v. USPS, 20-cv-6516, ECF No. 57 (S.D.N.Y. Sept. 25, 2020), as
modified by ECF No. 66; Washington v. Trump, 20-cv-3127, ECF No. 81 (E.D. Wash. Sept. 17,
2020), as modified by ECF No. 90.
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          Furthermore, the parties in this litigation are currently conferring over a schedule for

remaining proceedings, which will include summary judgment briefing, and so the parties may

later revisit the issue of an answer if and when it becomes necessary. The requested extension will

not prejudice Plaintiffs because the Court has already issued a preliminary injunction, and the

principal motivation behind the preliminary injunction, the November 2020 Election, has now

passed.

          Defendants have conferred with Plaintiffs, and Plaintiffs do not object to a stay of the

answer deadline pending entry of a briefing schedule in the case.



Dated: December 11, 2020


                                              Respectfully submitted,

                                              JEFFREY BOSSERT CLARK
                                              Acting Assistant Attorney General

                                              ERIC WOMACK
                                              Assistant Branch Director, Federal Programs Branch

                                              /s/ Kuntal Cholera
                                              KUNTAL V. CHOLERA
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Defendants.


                                    [Proposed] Order

        IT IS HEREBY ORDERED that Defendants’ Motion to Stay the Deadline to Respond to

Plaintiffs’ Complaint is GRANTED.


        It is SO ORDERED this ____day of __________, 2020.



                                               ______________________________
                                               The Honorable Gerald A. McHugh
                                               United States District Judge




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